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CHAPMAN AND CUTLER LLP
Steven Wilamowsky
1270 Avenue of the Americas
30th Floor
New York, NY 10020-1708
Telephone: 212.655.6000

-and-

Aaron M. Krieger
111 West Monroe Street
Chicago, IL 60603-4080
Telephone: 312.845.3000

Proposed Counsel for the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re                                                     :   Chapter 11
                                                          :
Retrieval-Masters Creditors Bureau, Inc.,1                :   Case No. 19-23185 (RDD)
                                                          :
                           Debtor.                        :
----------------------------------------------------------x



        UPDATED SCHEDULES TO DECLARATION OF STEVEN WILAMOWSKY
          IN SUPPORT OF THE DEBTOR’S APPLICATION FOR ENTRY OF AN
           ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
          CHAPMAN AND CUTLER LLP AS ATTORNEYS FOR THE DEBTOR,
               EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE




1
         The last four digits of the Debtor’s taxpayer identification number is 9495. The location of the Debtor’s
         service address for purposes of this chapter 11 case is 4 Westchester Plaza, Suite 110, Elmsford, NY 10523.
         The Debtor also does business as American Medical Collection Agency.
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                                            Updated Schedule 1

        The following lists contain the names of reviewed entities as described more fully in the
Declaration of Steven Wilamowsky in Support of the Debtor’s Application for Entry of an Order
Authorizing the Retention and Employment of Chapman and Cutler LLP as Attorneys for the
Debtor, Effective Nunc Pro Tunc to the Petition Date (the “Wilamowsky Declaration”).1
Where the names of the entities reviewed are incomplete or ambiguous, the scope of the search
was intentionally broad and inclusive, and Chapman reviewed each entity in its records, as more
fully described in the Wilamowsky Declaration, matching the incomplete or ambiguous name.

List of Schedules

Schedule         Category
1(a)             Debtor
1(b)             Directors & Officers
1(c)             Sole Equity Holder
1(d)             Bankruptcy Judge
1(e)             Clients and Vendors
1(f)             Government & Regulatory
1(g)             Insurance
1(h)             Landlord
1(i)             Lender
1(j)             Litigation
1(k)             Ordinary Course Professionals
1(l)             Office of U.S. Trustee, S.D.N.Y.
1(m)             Utilities




1
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Wilamowsky
    Declaration.
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                                     Schedule 1(a)

                                        Debtor

Retrieval-Masters Creditors Bureau, Inc.
       also known as American Medical Collection Agency
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                                   Schedule 1(b)

                                Directors & Officers

Russell Fuchs
Jeffrey Wollman
Bradley Scher
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                                    Schedule 1(c)

                                  Sole Equity Holder

Russell Fuchs
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                                      Schedule 1(d)

                                    Bankruptcy Judge

Honorable Robert D. Drain
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                                         Schedule 1(e)

                                   Clients and Vendors

IBM
Cup A Jo Coffee Solutions
Wells Fargo Vendor Fin Serv
Service Express
Verizon Wireless
Vanguard Cleaning Systems
Suburban Caring Comnpany
ProShred
Pitney Bowes Global Financial Services
Pitney Bowes Global Financial Services
MacKinney Systems
Lexis Nexis
Konica Minolta Premier Finance
Lightpath (now Altice)
Connectivity Systems
Microsoft
Oxford Insurance
Allied Administrators for Delta Dental
EndPoint
Apex
Charles River Associates
Clearbrook Cross LLC
American Express Card
Jet Blue Mastercard
Twilio
Windstream
Percona
efax.com
Adobe
New Relic
Godady.com
Nuvei
Worldpay
Jack henry Associates
PCI
EPIQ
ExpertSource
Paylocity
ABM Air Conditioning and Heating
Bank of America
Dynacare Seattle
Genzyme
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Laboratory Corporation of America
U.S. Labs
Conduent/ New Jersey Turnpike Authority
Clinical Pathology Associates
Clinical Pathology labs Seconds
Mason Shoe Company
Swiss Colony
American Esoteric Labs
CareCentrix
Quest Diagnostics Inc. ( Ameripath)
Quest Diagnostics, Inc.
Quest Diagnostics (Dermpath)
Quest Diagnostics Inc. ( Athena Diagnostics)
Quest Diagnostics, Inc (Clear Point Diagnostic Labs)
Quest Diagnostics Inc. (Med Fusion LLC)
Accurate Medical Lab
Acupath Laboratories Inc
Almeida Oil Company Inc.
Aloha Laboratories
American Traffic Solutions
Americas Test Kitchen
Austin Pathology Associates
Direct Wines
Arizona Dermatopathology
Avis Car Rentals Inc.
AW Pathology
Bayside Laboratories Inc.
Bio Corp Clinical Lab
Bio-Path Medical Group
Bio Reference Labs
Bakersfield Memorial Lab
Bostwick Laboratories
Bronx Lebanon Hospital
Burke Rehabilitation & Research
Camillus Surgery Center
Cape Regional Medical Center
Catalina Skin Institute
CBL Path
Centrex Labs
Cohen Dermatopathology Associates
Converge Diagnostics
Discount Energy Group
Wisconsin Diagnostics Laboratories
E Burnham Cosmetics
Elite Dental Associates
Empire Medical Labs
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Fairfax Medical Lab
Falcon Stamp Company
GR Communication Solutions
Guthy Renker
Gyn Path Services
Harlequin
Highlights
Hosiery Corporation of America
Institute of Childrens Literature
International Masters Publishers
Internal Medicine Associates
Integrated Regional Labs
Jamestown Stamp Company
Laboratory of Dermatopathology
Laboratory Medicine Consultants
Lakewood Pathology Associates
Lenox
Lipozene ( Continuity Products)
Littleton Coin Company
Magazineline
Mercy Healthcare lab
Metroplex Pathology Associates
Midwood Ambulance Service
Miraca Life Sciences
Monogram Labs
Mount Sinai Pathology
Masterbuilt
North American Membership Group
Natera Inc
National Geographic
Neuro Alert
National Medical Billing Services ( Multiple Health Providers)
North Ridge Hospital
NTD Labs/Perkin Elmer
Pathology Solutions
PCA South East
Pinnacle Credit Services
Positive Image Prosthetics & Orthotics Inc
Pulmonology & Sleep Center
Relax Holistic
Robert L Cristofaro MD & John M Nelson MD PC
Rodale
Savvier
Seacoast Pathology Inc.
Signature Genomic Lab
Sleeping Well
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Solstas Lab Partners Seconds
New York Spine Institute
South Texas Dermatopathology
St Joseph Hospital Lab
Sunrise Medical Labs
The Book Store
Twin Cities Dermatopathology
Therapath Partners LLC
Austin Pathology Associates
Transmonde
Vibrant America Clinical Lab
Value Web/Cybergate
Verde Energy
Verinata Health/Perkin Elmer
VERO LP
Video Gold
Village Apothecary Inc
West Hills
Western Pathology
Westgate Skin & Cancer
Penobscot Community Health Care
Penobscot Community Dental Center
Optum360, LLC
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                                      Schedule 1(f)

                               Government & Regulatory

State of Alabama – Office of the Attorney General
State of Alaska – Office of the Attorney General
State of Arizona – Office of the Attorney General
State of Arkansas – Office of the Attorney General
State of California – Office of the Attorney General
State of Colorado – Office of the Attorney General
State of Connecticut – Office of the Attorney General
State of Delaware – Office of the Attorney General
State of Florida – Office of the Attorney General
State of Georgia – Office of the Attorney General
State of Hawaii – Department of the Attorney General
State of Hawaii – Office of Consumer Protection
State of Idaho – Office of the Attorney General
State of Illinois – Office of the Attorney General
State of Indiana – Office of the Attorney General
State of Iowa – Office of the Attorney General
State of Kansas – Office of the Attorney General
Commonwealth of Kentucky – Office of the Attorney General
State of Louisiana – Office of the Attorney General
State of Maine – Office of the Attorney General
State of Maryland – Office of the Attorney General
Commonwealth of Massachusetts – Office of the Attorney General
Massachusetts Division of Banks
State of Michigan – Department of the Attorney General
State of Minnesota – Office of the Attorney General
State of Mississippi – Office of the Attorney General
State of Missouri – Office of the Attorney General
State of Montana – Office of the Attorney General
Montana Department of Justice
State of Nebraska – Office of the Attorney General
State of Nevada – Office of the Attorney General
State of New Hampshire – Office of the Attorney General
State of New Jersey – Office of the Attorney General
Office of the New Jersey Attorney General
State of New Mexico – Office of the Attorney General
State of New York – Office of the Attorney General
State of North Carolina – Office of the Attorney General
North Carolina Department of Justice
State of North Dakota – Office of the Attorney General
State of Ohio – Office of the Attorney General
State of Oklahoma – Office of the Attorney General
State of Oregon – Office of the Attorney General
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Oregon Department of Justice
Commonwealth of Pennsylvania – Office of the Attorney General
State of Rhode Island – Office of the Attorney General
State of South Carolina – Office of the Attorney General
State of South Dakota – Office of the Attorney General
State of Tennessee – Office of the Attorney General
State of Texas – Office of the Attorney General
State of Utah – Office of the Attorney General
State of Vermont – Office of the Attorney General
Commonwealth of Virginia – Office of the Attorney General
State of Washington – Office of the Attorney General
State of West Virginia – Office of the Attorney General
State of Wisconsin – Office of the Attorney General
State of Wyoming – Office of the Attorney General
District of Columbia – Office of the Attorney General
National Association of Attorneys General
Internal Revenue Service
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                                    Schedule 1(g)

                                      Insurance

Peerless Insurance Company/Excelsior Insurance Company
Starr International Company, Inc.
Liberty Mutual Insurance Company/Ironshore
American Financial Group/Great American Insurance Company
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                                        Schedule 1(h)

                                         Landlord

Mack-Cali CW Realty Associates L.L.C.
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                                    Schedule 1(i)

                                       Lender

Russell Fuchs
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                                      Schedule 1(j)

                                        Litigation

Anna Aragona
Zackaria Abdalla Bandak
Marsha Barton
Andrew Berkowitz
Matthew Bavaro
Ron Bochner
Daryl Bohling
Armando Caldera
Estate of Louisa Bonanno
Gail Henderson
Krista Lebron
BioReference Laboratories, Inc.
Mace Bateman
Francis Carbonneau
Sean DeMarco
Jorge M. Fernandez, Jr. and Hector J. Valdes
Emory Grauberger
Edgar Gutierrez
Kaesha Gaye Camilia Henry
Ashley Jilek and Latorrie Glover-Brown
Traci Diana Julin
Brian Lanouette
Prescott Lovern,Sr.
Misty Marler
Johanna A. Mayer
Mark Meisel, Zakaria Haque, Robert Oswald, Lori Weinrib, Robert Corwin, and Cindy Farber
Gale Mills
Leidy A Acosta Montan
Nuvei Technologies
LaBena Oatis
Colquitt Pickett
Robert Oswald, Mary Beth Kerns, Marcia Sorin-Rosenthal and Stephen Rosenthal
Julio Antonio Perez Vieyra
Deanna Rahill
Tatyana Schulman
Rosa Villarreal
Paula Worthey
Lana Wilk
Ritzie Key
Patrick Rogge
Daniel Ryan
Melissa Ryan
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Mark Johnston
Noel Benadom
Eric Cinelli
Joanna Eggins
Satoria Monlyn
Matthew Webb
Cheryl Chuha
Brandon Laughlin
Caleb Dirrim
Denise Brown-Wells
Gina Allende
Morgan Ottmann
David Finch
Gene Hively
Mohamad Mohamad
Elizabeth Hollway
Glenn French
Clyde Freeman
Tim Collinsworth
Erickson J. Ocasio
Amanda Hayhurst
Donetta Huffman
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                                     Schedule 1(k)

                             Ordinary Course Professionals

Morvillo Abramowitz Grand Iason & Anello P.C.
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                                    Schedule 1(l)

                           Office of U.S. Trustee, S.D.N.Y.

Harrington, William K.
Linda A. Riffkin
Victor Abriano
Susan Arbeit
Maria Catapano
Danny A. Choy
Benjamin J. Higgins
Nadkarni Joseph
Brian S. Masumoto
Ercilia A. Mendoza
Mary V. Moroney
Richard C. Morrissey
Serene Nakano
Cheuk M. Ng
Ilusion Rodriguez
Andrea B. Schwartz
Paul K. Schwartzberg
Shannon Scott
Sylvester Sharp
Andy Velez-Rivera
Greg M. Zipes
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                                       Schedule 1(m)

                                         Utilities

Con Edison of New York
Cablevision Lightpath, Inc.
Twilio
Broadview Networks
eFax
Altice USA, Inc./Cablevision Optimum
Suburban Carting Co.
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                                       Updated Schedule 2

            Entity Name                     Type               Conflicts Search Result
IBM                                Vendor              Current client in unrelated matter(s).
Cup A Jo Coffee Solutions          Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Wells Fargo Vendor Fin Serv        Vendor              Current client in unrelated matter(s).
Service Express                    Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Verizon Wireless                   Vendor              Former client in unrelated matter(s).
Vanguard Cleaning Systems          Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Suburban Caring Company            Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
ProShred                           Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Pitney Bowes Global Financial      Vendor              Not in Chapman’s conflicts database as
Services                                               a Client within the last 36 months.
Pitney Bowes Global Financial      Vendor              Not in Chapman’s conflicts database as
Services                                               a Client within the last 36 months.
MacKinney Systems                  Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Lexis Nexis                        Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Konica Minolta Premier Finance     Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Lightpath (now Altice)             Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Connectivity Systems               Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Microsoft                          Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Oxford Insurance                   Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Allied Administrators for Delta    Vendor              Not in Chapman’s conflicts database as
Dental                                                 a Client within the last 36 months.
EndPoint                           Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Apex                               Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Charles River Associates           Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
Clearbrook Cross LLC               Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
American Express Card              Vendor              Not in Chapman’s conflicts database as
                                                       a Client within the last 36 months.
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Jet Blue Mastercard               Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
Twilio                            Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
Windstream                        Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
Percona                           Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
efax.com                          Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
Adobe                             Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
New Relic                         Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
Godaddy.com                       Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
Nuvei                             Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
Worldpay                          Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
Jack henry Associates             Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
PCI                               Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
EPIQ                              Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
ExpertSource                      Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
Paylocity                         Vendor             Not in Chapman’s conflicts database as
                                                     a Client within the last 36 months.
ABM Air Conditioning and          Vendor             Not in Chapman’s conflicts database as
Heating                                              a Client within the last 36 months.
Bank of America                   Vendor             Current client in unrelated matter(s).
                                  Client             Not in Chapman’s conflicts database as
Dynacare Seattle                                     a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Genzyme                                              a Client within the last 36 months.
Laboratory Corporation of         Client             Not in Chapman’s conflicts database as
America                                              a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
U.S. Labs                                            a Client within the last 36 months.
Conduent/ New Jersey Turnpike     Client             Not in Chapman’s conflicts database as
Authority                                            a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Clinical Pathology Associates                        a Client within the last 36 months.
Clinical Pathology labs Seconds   Client             Not in Chapman’s conflicts database as
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                                                     a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Mason Shoe Company                                   a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Swiss Colony                                         a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
American Esoteric Labs                               a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
CareCentrix                                          a Client within the last 36 months.
Quest Diagnostics Inc.            Client             Not in Chapman’s conflicts database as
(Ameripath)                                          a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Quest Diagnostics, Inc.                              a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Quest Diagnostics (Dermpath)                         a Client within the last 36 months.
Quest Diagnostics Inc. ( Athena   Client             Not in Chapman’s conflicts database as
Diagnostics)                                         a Client within the last 36 months.
Quest Diagnostics, Inc (Clear     Client             Not in Chapman’s conflicts database as
Point Diagnostic Labs)                               a Client within the last 36 months.
Quest Diagnostics Inc. (Med       Client             Not in Chapman’s conflicts database as
Fusion LLC)                                          a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Accurate Medical Lab                                 a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Acupath Laboratories Inc                             a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Almeida Oil Company Inc.                             a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Aloha Laboratories                                   a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
American Traffic Solutions                           a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Americas Test Kitchen                                a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Austin Pathology Associates                          a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Direct Wines                                         a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Arizona Dermatopathology                             a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Avis Car Rentals Inc.                                a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
AW Pathology                                         a Client within the last 36 months.
                                  Client             Not in Chapman’s conflicts database as
Bayside Laboratories Inc.                            a Client within the last 36 months.
Bio Corp Clinical Lab             Client             Not in Chapman’s conflicts database as
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                                                      a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Bio-Path Medical Group                                a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Bio Reference Labs                                    a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Bakersfield Memorial Lab                              a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Bostwick Laboratories                                 a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Bronx Lebanon Hospital                                a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Burke Rehabilitation & Research                       a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Camillus Surgery Center                               a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Cape Regional Medical Center                          a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Catalina Skin Institute                               a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
CBL Path                                              a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Centrex Labs                                          a Client within the last 36 months.
Cohen Dermatopathology            Client              Not in Chapman’s conflicts database as
Associates                                            a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Converge Diagnostics                                  a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Discount Energy Group                                 a Client within the last 36 months.
Wisconsin Diagnostics             Client              Not in Chapman’s conflicts database as
Laboratories                                          a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
E Burnham Cosmetics                                   a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Elite Dental Associates                               a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Empire Medical Labs                                   a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Fairfax Medical Lab                                   a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Falcon Stamp Company                                  a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
GR Communication Solutions                            a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Guthy Renker                                          a Client within the last 36 months.
Gyn Path Services                 Client              Not in Chapman’s conflicts database as
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                                                       a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Harlequin                                              a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Highlights                                             a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Hosiery Corporation of America                         a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Institute of Childrens Literature                      a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
International Masters Publishers                       a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Internal Medicine Associates                           a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Integrated Regional Labs                               a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Jamestown Stamp Company                                a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Laboratory of Dermatopathology                         a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Laboratory Medicine Consultants                        a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Lakewood Pathology Associates                          a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Lenox                                                  a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Lipozene (Continuity Products)                         a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Littleton Coin Company                                 a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Magazineline                                           a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Mercy Healthcare lab                                   a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Metroplex Pathology Associates                         a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Midwood Ambulance Service                              a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Miraca Life Sciences                                   a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Monogram Labs                                          a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Mount Sinai Pathology                                  a Client within the last 36 months.
                                    Client             Not in Chapman’s conflicts database as
Masterbuilt                                            a Client within the last 36 months.
North American Membership           Client             Not in Chapman’s conflicts database as
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Group                                                 a Client within the last 36 months.
Natera Inc                        Client              Former client in unrelated matter(s).
                                  Client              Not in Chapman’s conflicts database as
National Geographic                                   a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Neuro Alert                                           a Client within the last 36 months.
National Medical Billing          Client              Not in Chapman’s conflicts database as
Services (Multiple Health                             a Client within the last 36 months.
Providers)
                                  Client              Not in Chapman’s conflicts database as
North Ridge Hospital                                  a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
NTD Labs/Perkin Elmer                                 a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Pathology Solutions                                   a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
PCA South East                                        a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Pinnacle Credit Services                              a Client within the last 36 months.
Positive Image Prosthetics &      Client              Not in Chapman’s conflicts database as
Orthotics Inc                                         a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Pulmonology & Sleep Center                            a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Relax Holistic                                        a Client within the last 36 months.
Robert L Cristofaro MD & John     Client              Not in Chapman’s conflicts database as
M Nelson MD PC                                        a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Rodale                                                a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Savvier                                               a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Seacoast Pathology Inc.                               a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Signature Genomic Lab                                 a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Sleeping Well                                         a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Solstas Lab Partners Seconds                          a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
New York Spine Institute                              a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
South Texas Dermatopathology                          a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
St Joseph Hospital Lab                                a Client within the last 36 months.
Sunrise Medical Labs              Client              Not in Chapman’s conflicts database as
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                                                      a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
The Book Store                                        a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Twin Cities Dermatopathology                          a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Therapath Partners LLC                                a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Austin Pathology Associates                           a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Transmonde                                            a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Vibrant America Clinical Lab                          a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Value Web/Cybergate                                   a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Verde Energy                                          a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Verinata Health/Perkin Elmer                          a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
VERO LP                                               a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Video Gold                                            a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Village Apothecary Inc                                a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
West Hills                                            a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Western Pathology                                     a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Westgate Skin & Cancer                                a Client within the last 36 months.
Penobscot Community Health        Client              Not in Chapman’s conflicts database as
Care                                                  a Client within the last 36 months.
Penobscot Community Dental        Client              Not in Chapman’s conflicts database as
Center                                                a Client within the last 36 months.
                                  Client              Not in Chapman’s conflicts database as
Optum360, LLC                                         a Client within the last 36 months.
Retrieval-Masters Creditors       Debtor              Client in present matter.
Bureau, Inc.
American Medical Collection       Debtor              Client in present matter.
Agency
Russell Fuchs                     D&O                 No connection apart from present
                                                      matter.
Jeffrey Wollman                   D&O                 No connection apart from present
                                                      matter.
Bradley Scher                     D&O                 Current client in unrelated matter(s).
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Russell Fuchs                         Equity Holder       No connection apart from present
                                                          matter.
Robert D. Drain                       Judge               Not in Chapman’s conflicts database as
                                                          a Client within the last 36 months.
State of Alabama – Office of the      Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Alaska – Office of the       Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Arizona – Office of the      Gov. & Regulatory   Arizona State Retirement System is a
Attorney General                                          client in unrelated matters.
State of Arkansas – Office of the     Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
                                      Gov. & Regulatory   Various California State entities are
State of California – Office of the
Attorney General
                                                          current or former clients in unrelated
                                                          matters.
State of Colorado – Office of the     Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Connecticut – Office of      Gov. & Regulatory   Not in Chapman’s conflicts database as
the Attorney General                                      a Client within the last 36 months.
State of Delaware – Office of the     Gov. & Regulatory   The State of Delaware is a client in
Attorney General                                          unrelated matters.
State of Florida – Office of the      Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Georgia – Office of the      Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Hawaii – Department of       Gov. & Regulatory   Not in Chapman’s conflicts database as
the Attorney General                                      a Client within the last 36 months.
State of Hawaii – Office of           Gov. & Regulatory   Not in Chapman’s conflicts database as
Consumer Protection                                       a Client within the last 36 months.
State of Idaho – Office of the        Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Illinois – Office of the     Gov. & Regulatory   The State of Illinois is a client in
Attorney General                                          unrelated matters.
State of Indiana – Office of the      Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Iowa – Office of the         Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Kansas – Office of the       Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
Commonwealth of Kentucky –            Gov. & Regulatory   Not in Chapman’s conflicts database as
Office of the Attorney General                            a Client within the last 36 months.
State of Louisiana – Office of the    Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Maine – Office of the        Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                          a Client within the last 36 months.
State of Maryland – Office of the     Gov. & Regulatory   Maryland State Retirement and Pension
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Attorney General                                        System is a client in unrelated matters.
Commonwealth of Massachusetts       Gov. & Regulatory   Not in Chapman’s conflicts database as
– Office of the Attorney General                        a Client within the last 36 months.
                                    Gov. & Regulatory   Not in Chapman’s conflicts database as
Massachusetts Division of Banks
                                                        a Client within the last 36 months.
State of Michigan – Department      Gov. & Regulatory   Not in Chapman’s conflicts database as
of the Attorney General                                 a Client within the last 36 months.
State of Minnesota – Office of      Gov. & Regulatory   Not in Chapman’s conflicts database as
the Attorney General                                    a Client within the last 36 months.
State of Mississippi – Office of    Gov. & Regulatory   Not in Chapman’s conflicts database as
the Attorney General                                    a Client within the last 36 months.
State of Missouri – Office of the   Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                        a Client within the last 36 months.
State of Montana – Office of the    Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                        a Client within the last 36 months.
                                    Gov. & Regulatory   Not in Chapman’s conflicts database as
Montana Department of Justice
                                                        a Client within the last 36 months.
State of Nebraska – Office of the   Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                        a Client within the last 36 months.
State of Nevada – Office of the     Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                        a Client within the last 36 months.
State of New Hampshire – Office     Gov. & Regulatory   Not in Chapman’s conflicts database as
of the Attorney General                                 a Client within the last 36 months.
State of New Jersey – Office of     Gov. & Regulatory   Not in Chapman’s conflicts database as
the Attorney General                                    a Client within the last 36 months.
Office of the New Jersey            Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                        a Client within the last 36 months.
State of New Mexico – Office of     Gov. & Regulatory   Not in Chapman’s conflicts database as
the Attorney General                                    a Client within the last 36 months.
                                    Gov. & Regulatory   Various New York State entities are
State of New York – Office of
                                                        current or former clients in unrelated
the Attorney General
                                                        matters.
State of North Carolina – Office    Gov. & Regulatory   Not in Chapman’s conflicts database as
of the Attorney General                                 a Client within the last 36 months.
North Carolina Department of        Gov. & Regulatory   Not in Chapman’s conflicts database as
Justice                                                 a Client within the last 36 months.
State of North Dakota – Office of   Gov. & Regulatory   Not in Chapman’s conflicts database as
the Attorney General                                    a Client within the last 36 months.
State of Ohio – Office of the       Gov. & Regulatory   Former client in unrelated matter(s).
Attorney General
State of Oklahoma – Office of       Gov. & Regulatory   Not in Chapman’s conflicts database as
the Attorney General                                    a Client within the last 36 months.
State of Oregon – Office of the     Gov. & Regulatory   Not in Chapman’s conflicts database as
Attorney General                                        a Client within the last 36 months.
                                    Gov. & Regulatory   Not in Chapman’s conflicts database as
Oregon Department of Justice
                                                        a Client within the last 36 months.
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Commonwealth of Pennsylvania         Gov. & Regulatory     Not in Chapman’s conflicts database as
– Office of the Attorney General                           a Client within the last 36 months.
State of Rhode Island – Office of    Gov. & Regulatory     Not in Chapman’s conflicts database as
the Attorney General                                       a Client within the last 36 months.
State of South Carolina – Office     Gov. & Regulatory     Not in Chapman’s conflicts database as
of the Attorney General                                    a Client within the last 36 months.
State of South Dakota – Office of    Gov. & Regulatory     Not in Chapman’s conflicts database as
the Attorney General                                       a Client within the last 36 months.
State of Tennessee – Office of       Gov. & Regulatory     Not in Chapman’s conflicts database as
the Attorney General                                       a Client within the last 36 months.
State of Texas – Office of the       Gov. & Regulatory     Not in Chapman’s conflicts database as
Attorney General                                           a Client within the last 36 months.
                                     Gov. & Regulatory     Various State of Utah entities are
State of Utah – Office of the
Attorney General
                                                           current or former clients in unrelated
                                                           matters.
State of Vermont – Office of the     Gov. & Regulatory     Not in Chapman’s conflicts database as
Attorney General                                           a Client within the last 36 months.
Commonwealth of Virginia –           Gov. & Regulatory     Not in Chapman’s conflicts database as
Office of the Attorney General                             a Client within the last 36 months.
                                     Gov. & Regulatory     Various Washington State entities are
State of Washington – Office of
the Attorney General
                                                           current or former clients in unrelated
                                                           matters.
State of West Virginia – Office      Gov. & Regulatory     Not in Chapman’s conflicts database as
of the Attorney General                                    a Client within the last 36 months.
                                     Gov. & Regulatory     Various State of Wisconsin entities are
State of Wisconsin – Office of
                                                           current or former clients in unrelated
the Attorney General
                                                           matters.
State of Wyoming – Office of the     Gov. & Regulatory     Not in Chapman’s conflicts database as
Attorney General                                           a Client within the last 36 months.
District of Columbia – Office of     Gov. & Regulatory     Not in Chapman’s conflicts database as
the Attorney General                                       a Client within the last 36 months.
National Association of              Gov. & Regulatory     Not in Chapman’s conflicts database as
Attorneys General                                          a Client within the last 36 months.
                                     Gov. & Regulatory     Not in Chapman’s conflicts database as
Internal Revenue Service
                                                           a Client within the last 36 months.
Peerless Insurance                   Insurance             Former client in unrelated matter(s).
Company/Excelsior Insurance
Company
Starr International Company, Inc.    Insurance             Not in Chapman’s conflicts database as
                                                           a Client within the last 36 months.
Liberty Mutual Insurance             Insurance             Former client in unrelated matter(s).
Company/Ironshore
American Financial Group/Great       Insurance             Current client in unrelated matter(s).
American Insurance Company
Mack-Cali CW Realty Associates       Former                Not in Chapman’s conflicts database as
L.L.C.                               landlord/litigation   a Client within the last 36 months.
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                               pending
Russell Fuchs                  Lender              No connection apart from present
                                                   matter.
Morvillo Abramowitz Grand      Professionals       Not in Chapman’s conflicts database as
Iason & Anello P.C.                                a Client within the last 36 months.
Harrington, William K.         UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Linda A. Riffkin               UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Victor Abriano                 UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Susan Arbeit                   UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Maria Catapano                 UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Danny A. Choy                  UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Benjamin J. Higgins            UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Nadkarni Joseph                UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Brian S. Masumoto              UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Ercilia A. Mendoza             UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Mary V. Moroney                UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Richard C. Morrissey           UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Serene Nakano                  UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Cheuk M. Ng                    UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Ilusion Rodriguez              UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Andrea B. Schwartz             UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Paul K. Schwartzberg           UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Shannon Scott                  UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Sylvester Sharp                UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Andy Velez-Rivera              UST                 Not in Chapman’s conflicts database as
                                                   a Client within the last 36 months.
Greg M. Zipes                  UST                 Not in Chapman’s conflicts database as
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                                                      a Client within the last 36 months.
Con Edison of New York            Utilities           Not in Chapman’s conflicts database as
                                                      a Client within the last 36 months.
Cablevision Lightpath, Inc.       Utilities           Not in Chapman’s conflicts database as
                                                      a Client within the last 36 months.
Twilio                            Utilities           Not in Chapman’s conflicts database as
                                                      a Client within the last 36 months.
Broadview Networks                Utilities           Not in Chapman’s conflicts database as
                                                      a Client within the last 36 months.
eFax                              Utilities           Not in Chapman’s conflicts database as
                                                      a Client within the last 36 months.
Altice USA, Inc./Cablevision      Utilities           Not in Chapman’s conflicts database as
Optimum                                               a Client within the last 36 months.
Suburban Carting Co.              Utilities           Not in Chapman’s conflicts database as
                                                      a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Anna Aragona                      Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Zackaria Abdalla Bandak           Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Marsha Barton                     Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Andrew Berkowitz                  Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Matthew Bavaro                    Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Ron Bochner                       Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Daryl Bohling                     Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Armando Caldera                   Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Estate of Louisa Bonanno          Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Gail Henderson                    Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Krista Lebron                     Litigation          a Client within the last 36 months.
BioReference Laboratories,                            Not in Chapman’s conflicts database as
Inc.                              Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Mace Bateman                      Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Francis Carbonneau                Litigation          a Client within the last 36 months.
                                                      Not in Chapman’s conflicts database as
Sean DeMarco                      Litigation          a Client within the last 36 months.
Jorge M. Fernandez, Jr. and       Litigation          Not in Chapman’s conflicts database as
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Hector J. Valdes                                    a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Emory Grauberger                Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Edgar Gutierrez                 Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Kaesha Gaye Camilia Henry       Litigation          a Client within the last 36 months.
Ashley Jilek and Latorrie                           Not in Chapman’s conflicts database as
Glover-Brown                    Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Traci Diana Julin               Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Brian Lanouette                 Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Prescott Lovern,Sr.             Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Misty Marler                    Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Johanna A. Mayer                Litigation          a Client within the last 36 months.
Mark Meisel, Zakaria Haque,                         Not in Chapman’s conflicts database as
Robert Oswald, Lori Weinrib,                        a Client within the last 36 months.
Robert Corwin, and Cindy
Farber                          Litigation
                                                    Not in Chapman’s conflicts database as
Gale Mills                      Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Leidy A Acosta Montan           Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Nuvei Technologies              Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
LaBena Oatis                    Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Colquitt Pickett                Litigation          a Client within the last 36 months.
Robert Oswald, Mary Beth                            Not in Chapman’s conflicts database as
Kerns, Marcia Sorin-                                a Client within the last 36 months.
Rosenthal and Stephen
Rosenthal                       Litigation
                                                    Not in Chapman’s conflicts database as
Julio Antonio Perez Vieyra      Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Deanna Rahill                   Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Tatyana Schulman                Litigation          a Client within the last 36 months.
                                                    Not in Chapman’s conflicts database as
Rosa Villarreal                 Litigation          a Client within the last 36 months.
Paula Worthey                   Litigation          Not in Chapman’s conflicts database as
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                                                  a Client within the last 36 months.
                                                  Not in Chapman’s conflicts database as
Anna Aragona                  Litigation          a Client within the last 36 months.
Lana Wilk                     Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Ritzie Key                    Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Patrick Rogge                 Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Daniel Ryan                   Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Melissa Ryan                  Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Mark Johnston                 Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Noel Benadom                  Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Eric Cinelli                  Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Joanna Eggins                 Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Satoria Monlyn                Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Matthew Webb                  Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Cheryl Chuha                  Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Brandon Laughlin              Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Caleb Dirrim                  Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Denise Brown-Wells            Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Gina Allende                  Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Morgan Ottmann                Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
David Finch                   Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Gene Hively                   Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Mohamad Mohamad               Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Elizabeth Hollway             Litigation          Not in Chapman’s conflicts database as
                                                  a Client within the last 36 months.
Glenn French                  Litigation          Not in Chapman’s conflicts database as
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                                                 a Client within the last 36 months.
Clyde Freeman                Litigation          Not in Chapman’s conflicts database as
                                                 a Client within the last 36 months.
Tim Collinsworth             Litigation          Not in Chapman’s conflicts database as
                                                 a Client within the last 36 months.
Erickson J. Ocasio           Litigation          Not in Chapman’s conflicts database as
                                                 a Client within the last 36 months.
Amanda Hayhurst              Litigation          Not in Chapman’s conflicts database as
                                                 a Client within the last 36 months.
Donetta Huffman              Litigation          Not in Chapman’s conflicts database as
                                                 a Client within the last 36 months.
